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                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION at COLUMBUS

       In re                                                )            Case No.     17-55813
                Kelly J. Spetnagel                          )
                Joy L. Spegnagel                                         Chapter 13
                                                            )
                                                            )            Judge        Charles M. Caldwell
                              Debtor(s)
                                                     CHAPTER 13 PLAN
       1. NOTICES

      This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule ("LBR") 3015-1.
      "Debtor" means either a single debtor or joint debtors as applicable. "Trustee" means Chapter 13 Trustee. Section
      "§" numbers refer to sections of Title 11 of the United States Bankruptcy Code. "Rule" refers to the Federal Rules
      of Bankruptcy Procedure.
      Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
                  Debtor                                   is not eligible for a discharge.
                   Joint Debtor                                   is not eligible for a discharge.

          Initial Plan
          Amended Plan The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan
       and must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
       adversely affect any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. LBR 3015-
       2(a). Any changes (additions or deletions) from the previously filed Plan or Amended must be clearly reflected in
       bold, italics, strike-through or otherwise in the Amended Plan filed with the Court.

       If an item is not checked, the provision will be ineffective if set out later in the Plan.
           This Plan contains nonstandard provisions in Paragraph 13.
           This Plan limits the amount of a secured claim based on a valuation of the collateral securing the claim.
           See Paragraph(s) 5.1.2 and/or 5.1.4.
           This Plan avoids a security interest or lien. See Paragraph(s) 5.4.1 and/or 5.4.2.

      NOTICES TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard
      Provisions). Upon confirmation, you will be bound by the terms of this Plan. Your claim may be reduced,
      modified, or eliminated. Unless otherwise ordered by the Court, the confirmation hearing in this case shall
      include a valuation hearing under § 506 and Rule 3012. The Court may confirm this Plan if no objection to
      confirmation is filed within fourteen (14) days after the § 341 Meeting of Creditors is concluded or, if this is
      an Amended Plan, objections must be filed by the deadline in the twenty-one (21) day notice. LBR 3015-3
      and 3015-2.
      2. PLAN PAYMENT AND LENGTH
      2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $ 1970.00 per month. [Enter step
      payments below, if any.] The Debtor shall commence payments within thirty (30) days of the petition date.
       2.1.1 Step Payments, if any:for 12 months, then $2,479.00 per month for the remainder of the plan
      2.2 Unsecured Percentage.
         Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of
        100 % on each allowed nonpriority unsecured claim.




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          Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
      $            . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
      allowed nonpriority unsecured claim is estimated to be no less than          %. LBR 3015-1(c)(2).

      2.3 Means Test Determination.
          Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
                length of the plan must be a minimum of thirty-six (36) months but not to exceed sixty (60)
                months.

          Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
                length of the Plan must be sixty (60) months.
      3. PRE-CONFIRMATION LEASE PAYMENTS AND/OR ADEQUATE PROTECTION PAYMENTS
      Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total
      plan payment to the Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by §
      1326(a)(1)(C) shall be made as part of the total plan payment to the Trustee. LBR 3070-1(b). The lessor/secured
      creditor must file a proof of claim to receive payment. LBR 3070-1(a) and (b).
              Name of Lessor/Secured Creditor            Property Description            Monthly Payment Amount



      4. VALUATION OF REAL PROPERTY
      Unless otherwise stipulated by the parties or ordered by the Court, real property shall be valued at the amount set
      forth in the filed appraisal. If no objection is timely filed, the value of the real property set forth in the filed
      appraisal will be binding upon confirmation of the Plan. If a creditor files a timely objection to valuation of real
      property pursuant to LBR 3015-3(a), the confirmation hearing shall include a valuation hearing under § 506 and
      Rule 3012, unless otherwise ordered by the Court.

      5. PAYMENTS TO CREDITORS

                                           SUMMARY OF PAYMENTS BY CLASS


              Class                      Definition                          Payment/Distribution by Trustee

              Class 1                    Claims with Designated Specific Paid first in the monthly payment
                                         Monthly Payments                amount designated in the Plan
              Class 2                    Secured Claims with No        Paid second and pro rata with other
                                         Designated Specific Monthly   Class 2 claims
                                         Payments and Domestic Support
                                         Obligations (Arrearages)
              Class 3                    Priority Claims               Paid third and pro rata with other
                                                                       Class 3 claims
              Class 4                    Nonpriority Unsecured Claims        Paid fourth and pro rata with other
                                                                             Class 4 claims
              Class 5                    Claims Paid by a Non-Filing Co- Not applicable
                                         Debtor or Third Party
              Class 6                    Claims Paid by the Debtor           Not applicable




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      Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the
      extent funds are available, the maximum number of Classes may receive distributions concurrently.
      Notwithstanding the above, the Trustee is authorized within the Trustee’s discretion to calculate the amount
      and timing of distributions as is administratively efficient.

      5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

      The following Class 1 claims shall be paid first in the monthly payment amount designated below. The
      plan payment is calculated in an amount that is sufficient for the Trustee to make a full monthly distribution
      on all Class 1 claims plus the statutory Trustee fee. If the Debtor makes a payment that is less than the full
      plan payment amount, the Trustee will make distributions on Class 1 claims in the order of priority set forth
      in the Bankruptcy Code.

      5.1.1 Maintenance of Regular Mortgage Payments

      Regular mortgage payments shall be calculated for payment starting the month after the filing of the
      petition. Arrearages shall be paid as Class 2 claims.

      Trustee disburse.
                                                                                       Residence Monthly Payment
            Name of Creditor             Property Address
                                                                                        (Y/N) Amount
            Bank of New York             1149-1181 Moss Hollow Rd,
                                                                                       Yes         $1078.86
            Mellon Trust Company         Chillicothe, Ohio

      Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only be paid
      directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).

                                                                                       Residence Monthly Payment
            Name of Creditor             Property Address
                                                                                        (Y/N) Amount



      5.1.2 Modified Mortgages and/or Liens Secured by Real Property ["Cramdown/Real Property"]

      The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s
      principal residence, (2) claims secured by other assets in addition to the Debtor’s principal residence, or (3)
      claims for which the last payment on the original payment schedule for a claim secured only by a security
      interest in real property that is the Debtor’s principal residence is due before the date on which the final
      payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
      value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority
      unsecured claim.

                                                                 Value of Property      Interest     Minimum
            Name of Creditor        Property Address
                                                                 and Appraisal          Rate         Monthly Payment
                                                                 $
                                                                     Appraisal Filed
                                                                     Appraisal
                                                                 forthcoming




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      5.1.3 Claims Secured by Personal Property for Which § 506 Valuation is Not Applicable
      ["910 Claims/Personal Property"]
      The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for
      the Debtor’s personal use within 910 days of the petition date or (2) personal property acquired within one year of
      the petition date. The proof of claim amount will control, subject to the claims objection process.
                                                                                                       Minimum
                                                                                                       Monthly
                                                          Purchase        Estimated    Interest
            Name of Creditor Property Description                                                      Payment
                                                          Date            Claim Amount Rate
                                                                                                       Including
                                                                                                       Interest



      5.1.4 Claims Secured by Personal Property for Which § 506 Valuation is Applicable
      [“Cramdown/Personal Property”]
      The following claims are secured by personal property not described above in Paragraph 5.1.3. Unless otherwise
      stipulated by the parties or ordered by the Court, the property shall be valued for purposes of § 506 at the lower of
      the creditor’s representation on its proof of claim or the Debtor’s representation below. LBR 3012-1(a). To the
      extent that a claim is in excess of the value of the property, the balance in excess of the value of the property shall
      be treated as a Class 4 nonpriority unsecured claim. If a creditor files a timely objection to the valuation of the
      property, the confirmation hearing shall include a valuation hearing under § 506 and Rule 3012 unless otherwise
      ordered by the Court.
                                                                                                       Minimum
                                                          Purchase/                                    Monthly
                                                                      Value of            Interest
            Name of Creditor Property Description         Transaction                                  Payment
                                                                      Property            Rate
                                                          Date                                         Including
                                                                                                       Interest
            One Main
                                2002 Pontiac Montana 5/2013               $1650            5.25%        $50.00
            Financial

      5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)

      If neither box is checked, then presumed to be none.
         Trustee disburse
        Debtor direct pay
      The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the
      Debtor becomes subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her
      attorney and the Trustee.
                                        State Child Support Enforcement Agency, if
            Name of Holder                                                         Monthly Payment Amount
                                        any




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      5.1.6 Executory Contracts and/or Unexpired Leases
      The Debtor rejects the following executory contracts and/or unexpired leases.
              Notice to Creditor of Deadline to File Claim for Rejection Damages:
              A proof of claim for rejection damages must be filed by the creditor within sixty (60)
              days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be
              treated as a Class 4 nonpriority unsecured claim.

            Name of Creditor                               Property Description



      The Debtor assumes the following executory contracts and/or unexpired leases. Unless otherwise ordered by the
      Court, all motor vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage
      shall be cured in monthly payments prior to the expiration of the executory contract and/or unexpired lease. The
      Debtor may not incur debt to exercise an option to purchase without obtaining Trustee or Court approval. LBR
      4001-3.
      Trustee disburse.
                                                                                 Estimated
                                                Regular Number of
                                                                  Monthly        Arrearage Contract/Lease
               Name of      Property            Payments
                                                                  Contract/Lease as of     Termination
               Creditor     Description         Remaining as of
                                                                  Payment        Petition  Date
                                                Petition Date
                                                                                 Date


      Debtor direct pay.
                                                                                 Estimated
                                                Regular Number of
                                                                  Monthly        Arrearage Contract/Lease
               Name of      Property            Payments
                                                                  Contract/Lease as of     Termination
               Creditor     Description         Remaining as of
                                                                  Payment        Petition  Date
                                                Petition Date
                                                                                 Date


      5.1.7 Administrative Claims
      The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional
      attorney fees beyond those set forth below will be paid after the attorney fees set forth below and in the same
      monthly amount as set forth below. LBR 2016-1(b).
                                                              Amount to be Disbursed by      Minimum Monthly
            Name of Claimant              Total Claim
                                                              Trustee                        Payment Amount
            W. Mark Jump                  $3500.00             $2000.00                      $280.00




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      5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND
      DOMESTIC SUPPORT OBLIGATIONS (ARREARAGES)

      5.2.1 Secured Claims with No Designated Monthly Payments
      The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
      certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
      process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.
            Name of Creditor                                  Estimated Amount of Claim

            Bank of New York Mellon Trust Company             $49,837.54

      5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)

        Trustee disburse
        Debtor direct pay
      The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a
      governmental unit and the estimated arrearage amount shall be listed below.
                                        State Child Support Enforcement Agency, if
            Name of Holder                                                         Estimated Arrearage
                                        any



      5.3 CLASS 3 - PRIORITY CLAIMS
      Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims under §
      507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third and shall be paid
      pro rata with other Class 3 claims.
      5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS
      Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
      shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.
      5.4.1 Wholly Unsecured Mortgages/Liens

      The following mortgages/liens are wholly unsecured and may be avoided. The Debtor shall file a motion for any
      mortgage/lien to be avoided. The motion shall be filed on or before the § 341 meeting of creditors and shall be
      served pursuant to Rule 7004. The confirmation hearing may be rescheduled if a timely motion is not filed.
      Optional form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.
                              Amount of Wholly                                                    Total Amount of
            Name of                                                         Value of Property
                              Unsecured        Property Address                                   SENIOR
            Creditor                                                        and Appraisal
                              Mortgage/Lien                                                       Mortgage/Liens
                                                                            $
                                                                                Appraisal Filed
                                                                                Appraisal
                                                                            forthcoming




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      5.4.2 Judicial Liens Impairing an Exemption in Real Property
      The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)
      (A). The Debtor shall file a motion for any judicial lien to be avoided. The motion shall be filed on or before the §
      341 meeting of creditors and shall be served pursuant to Rule 7004. The confirmation hearing may be rescheduled
      if a timely motion is not filed. Notwithstanding the foregoing, if a judicial lien is discovered after confirmation of
      the plan, a motion to avoid the judicial lien may be filed promptly after the judicial lien is discovered. Optional
      form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.

                                                                                               Amount of
                          Amount of                                               Total Amount
           Name of                  Property          Value of Property Amount of              Judicial Lien
                          Judicial                                                of all OTHER
           Creditor                 Address           and Appraisal     Exemption              to be
                          Lien                                                    Liens
                                                                                               Avoided

                                                      $
                                                          Appraisal Filed
                                                          Appraisal
                                                      forthcoming
      5.4.3 Mortgages to be Avoided Under 11 U.S.C. § 544

      The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims.
      The Debtor or the Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided.
      To the extent that the Trustee has standing to bring such action, standing is hereby assigned to the Debtor, provided
      a colorable claim exists that would benefit the estate.

           Name of Creditor                     Action to be Filed By Address of Property
                                                   Debtor
                                                   Trustee
      5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY
      The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor
      or third party.
            Name of Creditor                                        Name of Payor



      5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR
      The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.
            Name of Creditor                                           Monthly Payment Amount




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      6. SURRENDER OF PROPERTY

      The Debtor elects to surrender the following property to the creditor that is collateral for the creditor’s claim. Upon
      confirmation of the Plan, the stay under § 362(a) shall be terminated as to the surrendered property only.

               Name of Creditor                             Description of Property



      7. INTEREST RATE
      Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims
      treated in paragraph 5.1.1, secured claims shall be paid interest at the annual percentage rate of 5 % based upon
      a declining monthly balance on the amount of the allowed secured claim. Interest is included in the monthly
      payment amount. See Till v. SCS Credit Corp. (In re Till), 541 U.S. 465 (2004).

         This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in
                 full with interest at     % from the date of confirmation. If this box is not checked, the estate
                 is presumed to be insolvent.

      8. FEDERAL INCOME TAX RETURNS AND REFUNDS
      8.1 Federal Income Tax Returns

      If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed
      during the Plan term by April 30 of each year.

      8.2 Federal Income Tax Refunds

      Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income
      tax credit and/or additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and
      support pursuant to § 1325(b)(2) and shall turnover any balance in excess of such amount to the Trustee. Unless
      otherwise ordered by the Court, tax refunds turned over to the Trustee shall be distributed by the Trustee for the
      benefit of creditors. Any motion to retain a tax refund in excess of the amount set forth above shall be filed and
      served pursuant to LBR 9013-3(b).
      9. OTHER DUTIES OF THE DEBTOR
       9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

      The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with
      the Court in the event of any change of the Debtor’s address, employment, marital status, or child or spousal
      support payments.

      9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance, or
      Any Other Amount

      The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property
      regarding personal injury, workers compensation, buyout, severance package, lottery winning, inheritance, or any
      other funds to which the Debtor may be entitled or becomes entitled to receive. Before the matter can be settled and
      any funds distributed, the Debtor shall comply with all requirements for filing applications and/or motions for
      settlement with the Court as may be required by the Bankruptcy Code, the Bankruptcy Rules or the Local
      Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the Trustee for the
      benefit of creditors.




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      9.3 Social Security

      The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

      10. INSURANCE

      10.1 Insurance Information

      As of the petition date, the Debtor's real and/or property is insured as follows.

                                              Insurance Policy                              Agent Name/Contact
             Property Address/Description                                 Full/Liability
                                              Company Number                                Information
             1149-1181 Moss Hollow Rd.
                                               Allstate                   Full
             Chillicothe, OH

             2002 Pontiac Montana              Allstate                   Full

      10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)
      If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the
      Debtor shall have the option to use the insurance proceeds to either (1) pay off the balance of the secured claim
      through the Trustee if the secured creditor is a named loss payee on the policy or (2) upon order of the Court,
      substitute the collateral by purchasing a replacement motor vehicle. If a replacement motor vehicle is purchased,
      the motor vehicle shall have a value of not less than the balance of the unpaid secured claim, the Debtor shall
      ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall continue to
      pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after
      paying the secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

      11. EFFECTIVE DATE OF THE PLAN

      The effective date of the Plan is the date on which the order confirming the Plan is entered.

      12. VESTING OF PROPERTY OF THE ESTATE

      Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The
      Debtor shall remain responsible for the preservation and protection of all property of the estate.

        Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b) and (c).
        Other
      13. NONSTANDARD PROVISIONS
      The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of
      the Debtor. Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules,
      the Local Bankruptcy Rules or the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere
      in this Plan is void and shall have no binding effect.

            Nonstandard Provisions




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      By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the
      wording and order of provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13
      Plan adopted in this District and (2) this Plan contains no nonstandard provisions other than those set forth in
      Paragraph 13.
      Debtor’s Attorney


       /s/ W. Mark Jump

       Date: 02/27/18



      Debtor                                                 Joint Debtor


       /s/ Kelly J. Spetnagel                                 /s/ Joy L. Spetnagel

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                             NOTICE OF AMENDED CHAPTER 13 PLAN

             The Debtor has filed an Amended Plan.

             Your rights may be affected. You should read these papers carefully and discuss them
      with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
      may wish to consult one.

              If you do not want the Court to grant the relief sought in the Amended Plan, then on or
      before twenty-one (21) days from the date set forth in the certificate of service for the
      Amended Plan, you must file with the Court an objection to confirmation explaining your
      position by mailing your objection by ordinary U.S. Mail to: Clerk, U.S. Bankruptcy Court,
                                170 North High Street, Columbus OH 43215
      OR your attorney must file an objection using the Court’s ECF System.

      The Court must receive your objection on or before the above date.

             You must also send a copy of your objection by ordinary U.S. Mail to:

             Joy & Kelly Spetnagel, 1149 Moss Hollow Rd., Chillicothe, OH 45601

             If you or your attorney do not takes these steps, the Court may decide that you do not
      oppose the Amended Plan and may enter an order confirming the Amended Plan without further
      hearing or notice.

                                           Certificate of Service

              I hereby certify that a copy of the foregoing Plan was served (i) electronically on the
      date of filing through the court’s ECF System on all ECF participants registered in this case at
      the email address registered with the Court and (ii) by ordinary U.S. Mail on Feb 27, 2018
      addressed to:
       Joy & Kelly Spetnagel, 1149 Moss Hollow Rd., Chillicothe, OH 45601
       OneMain, PO Box 3251, Evansville, IN 47731-3251
                                                        /s/
                                                        (Name)




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